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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

UNITED STATES OF AMERICA                        §
                                                §
vs.                                             §      NO: WA:24-CR-00252(1)-ADA
                                                §
(1) APRIL MARIE AKIN                            §

              ORDER ACCEPTING REPORT AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

        Before the court is the above styled and numbered cause. On February 25,

 2025 the United States Probation Office filed a Petition For Warrant or Summons For

 Offender Under Supervision for Defendant (1) APRIL MARIE AKIN, which alleged

 that Akin violated a condition of her supervised release and recommended that Akin 's

 supervised release be revoked (Clerk's Document No. 3). A warrant issued and Akin

 was arrested. On March 7, 2025, Akin appeared before a United States Magistrate

 Judge, was ordered detained, and a revocation of supervised release hearing was set.

       Akin appeared before the magistrate judge on March 18, 2025, waived her right to

 a preliminary hearing and to be present before the United States District Judge at the

 time of modification of sentence, and consented to allocution before the magistrate

 judge. Following the hearing, the magistrate judge signed his report and

 recommendation on March 19, 2025, which provides that having carefully considered all

 of the arguments and evidence presented by the Government and Defendant, based on

 the original offense and the intervening conduct of Akin, the magistrate judge

 recommends that this court continue Akin supervised release. The magistrate judge
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recommends the additional following special conditions: The defendant shall participate

in a program of testing for alcohol abuse, as instructed by the probation officer, which

shall include the use of a remote alcohol testing system for the remaining term of her

supervised release. The defendant shall abide by a curfew restriction schedule for alcohol

testing as instructed by the probation officer. The defendant shall pay for the costs of

the program (Clerk's Document No. 17).

      A party may serve and file specific, written objections to the proposed findings

and recommendations of a magistrate judge within fourteen days after being served

with a copy of the report and recommendation, and thereby secure a de novo review by

the district court. See 28 U.S.C.§ 636(b); Fed. R. Civ. P. 72(b). A party's failure to

timely file written objections to the proposed findings, conclusions, and

recommendation in a report and recommendation bars that party, except upon grounds

of plain error, from attacking on appeal the unobjected-to proposed factual findings and

legal conclusions accepted by the district court. Douglass v. United Services Auto Ass 'n,

79 F.3d1415 (5th Cir. 1996) (en bane). The parties in this cause were properly notified of

the consequences of a failure to file objections.

       On March 18, 2025, following the hearing on the motion to revoke supervised

release, all parties signed a Waiver Of Fourteen Day Rule For Filing Objections To

Report and Recommendation OfUnited States Magistrate Judge (Clerk's Document No.

16). The court, having reviewed the entire record and finding no plain error, accepts
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 and adopts the report and recommendation filed in this cause.

        IT IS THEREFORE ORDERED that the Report and Recommendation of the

 United States Magistrate Judge filed in this cause (Clerk's Document No. 17 ) is

 hereby ACCEPTED AND ADOPTED by this court.

        IT IS FURTHER ORDERED that Defendant (1) APRIL MARIE AKIN's term

 of supervised release is hereby CONTINUED. In addition, defendant Akin shall

 comply with the following special conditions:

        The defendant shall participate in a program of testing for alcohol abuse, as

 instructed by the probation officer, which shall include the use of a remote alcohol

 testing system for the remaining term of her supervised release. The defendant shall

 abide by a curfew restriction schedule for alcohol testing as instructed by the probation

 officer. The defendant shall pay for the costs of the program.

             IT IS FURTHER ORDERED that all prior conditions of supervised release are

reimposed.

             Signed this 21st day of March, 2025.


                                                    ______________________________
                                                    ALAN D ALBRIGHT
                                                    UNITED STATES DISTRICT JUDGE
